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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON I)IVISION

IN RE:

'I`RIAD WELL SERVICE, LLC CASE NO. 18-30150

&O'JW$¢TMCO’JW-"

DEBTOR CHAPTER 11

AMENDED AFFIDAVIT OF PROPOSED COUNSEL PURSUANT TO

11 U.S.C.A § 327§al AND FED. R. BKTCY. P. 2014[a1

THE sTATE oF TEXAS §
§

COUNTY OF HARRIS §

“i, Riehard L. Fuqua, being duly sworn, depose and state the following

I.

 

l am an attorney~at-law duly licensed to practice in the State of Texas. l am admitted to

practice in the United States District Court for the Soutbern District of 'l`exas, as well as other

Districts. Fui"ther, l am also admitted to practice before the United States Fifth Circuit Cour`t of

Appeais. I maintain my law practice at the law firm of Fuqua & Associates, P.C., 5005 Riverway,

Suite 250, Houston, Texas 77056.

At the present time, my services for all of the firm’s clients are billed at the rate of $500.00

an hour. The fees Which shall be charged by the firm of Fuqua & Associates, P.C. to the Debtor’s

estate are as follows:

Mary Ann Bal'tee, Associate $250.00 an hour
Micliael L, Fuqua, Associate $225.00 an hour
T.J. O’Dowd, Legal Assistant $95,00 an hour

 

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II.

Neither l nor Fuqua & Associates, P.C. have any connection of any kind or nature With the
Debtor, creditors, any other party in interest, their respective attorneys and accountants, the United
States Trustee or any person employed in the office of the United States rfrustee.

Neither l, nor the law firm of Fuqua &, Associates, P.C. hold or represent any interest
adverse to the Debtor or its estate in the matters upon Which we are to be engaged by the Debtor.
Fuqua & Associates, P.C. and I are both disinterested persons. Neither I nor the law firm
of Fuqua & Associates, P.C. are creditors, equity security holders, or insiders, as defined in ll
U.S.C.§ l01(3l), of the Debtor. This firm has continuously represented the Debtor in pre~petition
attempts at avoiding the necessity of filing the instant Chapter l l. In connection With our pre-petition
representation, We Were compensated by the Debtor in accordance With the disclosure set forth in our
Disciosure of Compensation.

The employment of Fuqua & Associates, P.C, is in the best interests of the Debtor and its
estate.”

Further, Affiant sayeth not.

/s/ Rl'chard L. Fugua
Richard L. Fuqua

SWORN TO AND SUBSCRIBED BEFORE ME by Richard L. Fuqua, on this the 318‘
day of Januaiy, 2018, to certify Which Witness my hand and official seal of office.

/s/ Tr)mmie Jo O ’Dowd. Nomrv Public
NOTARY PUBLlC IN AND FOR THE STATE or TEXAs
My Commission Expires: Feb. 16 2018

 

 

 

